Case 2:

17-cv-02447-JMV-ESK Document 72-2 Filed 08/09/19 Page 1 of 36 PagelD: 411

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A. Ross Pearlson, Esq.

Daniel D. Barnes

Attorneys for Defendant

Creditors Relief, LLC

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JEFFREY HALE, Individually and on Behalf of
All Others Similarly Situated,
Civil Action No. 2:17-cv-02447-JMV-MF

Plaintiff,
DOCUMENT ELECTRONICALLY FILED
VS.
DECLARATION OF
CREDITORS RELIEF, LLC, LEE VARTAN, ESQ.
Defendant.

 

 

 

I, LEE VARTAN, ESQ., of full age, hereby declare as follows:

1. I am an attorney at law of the State of New Jersey and a member of the law firm
Chiesa Shahinian & Giantomasi PC, the attorneys for Defendant Creditors Relief, LLC in the
above-captioned action. As such, I am fully familiar with the facts stated herein. I respectfully
submit this Declaration in support of Creditors Reliefs Motion to Dismiss and/or Deny Class
Certification.

2. Attached as Exhibit A is a true and accurate copy of Plaintiff Jeffrey Hale’s

First Amended Complaint.

4822-691 1-5295.v1

 

 
Case 2:

 

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3. Attached as Exhibit B is a true and accurate copy of Defendant Creditors

Reliefs Responses and Objections to Plaintiffs Interrogatories.

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Dated: August 9, 2019 ae a a . _LEE VARTAN
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Exhibit A
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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY

JEFFREY HALE, individually and on behalf Case No. 2:17-cv-02447-JMV-MF
of all others similarly situated,

Plaintiff, AMENDED CLASS ACTION
COMPLAINT
Vv.

CREDITORS RELIEF, LLC, a New Jersey JURY TRIAL DEMANDED
limited liability company.

 

Defendant.

 

CLASS ACTION COMPLAINT
Plaintiff Jeffrey Hale (“Hale” or “Plaintiff’) brings this Class Action Complaint and
Demand for Jury Trial (‘Complaint’) against Defendant Creditors Relief LLC (“Creditors
Relief’ or “Defendant’’) to stop Creditors Relief from directing its agents to violate the
Telephone Consumer Protection Act by making unsolicited, autodialed calls to consumers
without their consent, and to otherwise obtain injunctive and monetary relief for all persons

injured by Defendant’s conduct. Plaintiff, for his Complaint, alleges as follows upon personal
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knowledge as to himself and his own acts and experiences, and, as to all other matters, upon
information and belief, including investigation conducted by his attorneys.
INTRODUCTION
1. Creditors Relief offers debt relief options to businesses all over the United States.

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On the website creditorsrelief.com, Defendant claims that it has “settled millions of dollars’’ for
businesses that were struggling with debt.

2. The CEO of Creditors Relief is Michael Lupolover, of the Law Offices of
Michael Lupolover. On his law website, Lupolover states, “In addition to representing
consumers against debt collectors, we also represent businesses with regard to debt negotiation,
settlement, and litigation.”

3. On his website http://www.lupoloverlaw.com, Lupolover has his address listed as

“120 Sylvan Ave Suite 300 Englewood Cliffs, NJ 07632”. This is the same address listed on the

CreditorsRelief.com website:

 

4. Creditors Relief is just one of a number of entities Lupolover created in order to

market his debt relief programs as is seen on the Connecticut Department of Banking website:

WHEREAS, Lupolover is also affiliated as a control person of the following entities: Creditors Relief LLC;
Premier Debt Solutions Limited Liability Company; Premier Debt Soivers; Premier Debt Pro; Law Offices;
Consumer Law Advocates PC; Debt Solutions Limited Liability Company; and Lupolover & Canty Professional
Corporation (collectively “Companies”); 4

 

 https://creditorsrelief.com/
* http:/Avww.lupoloverlaw.com/practice/ada/
3 https://creditorsrelief.com/

* http://ct.gov/dob/cwp/view.asp?a=2246&q=504098
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5. Upon information and belief, Lupolover directs his staff to purchase lists of
business leads generated by third parties and to cold call them repeatedly using an automatic
dialing system — not withstanding a lack of consent from the call recipients, including many
registered on the National Do Not Call Registry and/or that have otherwise expressly demanded
that Lupolover’s agents stop calling them.

6. In response to these calls, Plaintiff files this lawsuit seeking injunctive relief,
requiring Defendant to cease directing its agents to violate the Telephone Consumer Protection
Act, 47 U.S.C. § 227 (“TCPA”) by placing unsolicited calls to consumers’ cellular telephone
numbers using an automatic telephone dialing system as well as an award of statutory damages
to the members of the Class and costs.

PARTIES

7. Plaintiff Jeffrey Hale is a natural person who resides at 110 E. Center St., #1000,
Madison, South Dakota 57042.

8. Defendant Creditors Relief is a limited liability company incorporated and
existing under the laws of the State of New Jersey. Its principal office address is 120 Sylvan
Ave. Ste. 300, Englewood Cliffs, New Jersey 07632.° Defendant does business throughout the
United States, including in the State of New Jersey and in this District.

JURISDICTION AND VENUE

9. This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331,

as the action arises under the TCPA, which is a federal statute for which there is federal question

jurisdiction.

 

> https://www.njportal.com/DOR/BusinessNameSearch/Search/BusinessName.

° https://bbb.org/new-jersey/business-reviews/credit-and-debt-counseling/creditors-relief-in-
englewd-clfs-nj-90104223/reviews-and-complaints.
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10. This Court has personal jurisdiction over Defendant and venue is proper in this
district because Defendant resides in this District and because the wrongful conduct giving rise
to this case occurred in, was directed from, and/or emanated from this District.

COMMON ALLEGATIONS
Creditors Relief Markets Its Services by Obtaining Lists of Leads and Repeatedly
Autodialing Them Without Consent

11. Defendant’s marketing plan directs agents to market its debt assistance options to
businesses through unsolicited, autodialed calls to cellular phone numbers and other telephone
numbers registered on the DNC.

12. In a job posting on Indeed.com, Defendant admits to using an autodialer that is

used to make 150+ calls a day:

Job Responsibilities:

« Utilize call management systems on either a scripted or non-scripted call * Meet
performance goals related to schedule adherence, call quality, and efficiently handling
each call * Capture data accurately and quickly while navigating multiple computer
applications * Manage Leads as outlined in company protocol

¢ Have the ability to work a dialer as well as maintaining daily dial requirements of 150+
dials 7

SOTO

13. Given the high number of calls being made a day, per agent, it is no surprise to
find that there are numerous complaints posted online about these autodialed, unwanted calls:

e “Asked to speak to a business owner. Used a name clearly obtained from
some list (used the owner’s full name, including middle initial). Asked for
voicemail. When told we don’t have voicemail, they would not leave a
message. Googling indicates the call is likely from Creditors Debt Relief.
The sounds of a busy call center in the background could be heard’”®

e “Weekly calls placed to our business asking to speak with a specific Manager.
Calls typically consist of a 3-4 second lag time before a person comes on the

 

7 https://www.indeed.com/cmp/Premier-Pro-Management/jobs/Inside-Phone-Sales-
ba57a9033443983e
* http://800notes.com/Phone.aspx/1-201-266-5241.
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line along with very loud voices in the background indicating a boiler room
call center. Caller identifies their business name as “Creditor’s Relief’ who
offer high interest “loans” to small businesses. Despite asking every caller
from this sham organization to remove our Company from their call sheet, the
calls continue. Scum telemarketers who violate the Do Not Call Registry. Do
not do business with them.”

e “The number has called my home several times.

e “201 956 6966 She said that loan was filed with the UCC Uniform
Commerical Code with the US government. That’s interesting cause I don’t
have a loan or business.”!!

e “Calls then hangs up within 2 rings. Calls back, answer, no one there and
hangs up. Never leaves message.”!”

e “Incessant, aggravating, daily calls from 201-266-5241. They claim to be
“Creditors Relief’. Our company has no need for their services and we have
asked to be removed from their call sheet numerous times, but they ignore the
requests.”

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14. By placing the unsolicited telephone calls at issue in this Complaint, Defendant
caused Plaintiff and the other members of the Class actual harm and cognizable legal injury.

15. This includes the aggravation and nuisance and invasions of privacy that result
from the unsolicited autodialed telephone calls that are being made to cellular phones, and a loss
of the use and enjoyment of their phones, including wear and tear to the related data, memory,
software, hardware, and battery components, among other harms.

16. In response to Defendant’s unlawful conduct, Plaintiff files this action seeking an
injunction requiring Defendant to cease all unwanted autodialed call activities and an award of
statutory damages to the members of the Class under the TCPA.

PLAINTIFF’S ALLEGATIONS

17. On March 8, 2017 at 8:51 AM, Defendant placed an autodialed call to Plaintiff's

 

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'° http:/Awhocallsme.com/Phone-Number-aspx/2019566966.

" http:/Awww.scammer.info/d/434-advance-fee-business-loans/18.
"2 http://800notes.com/Phone.aspx/1-866-83 1-6477

'S http://www.whycall.me/201-266-5241 html
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cellular telephone number using phone number 201-956-6966.

18. When Plaintiff answered the call on his cellular telephone, he noticed a 1-3
second pause before being connected to a live agent. Such a pause is indicative of the Defendant
using a prohibited autodialer.

19. Creditor’s Relief solicited the Plaintiff on the March 8, 2017 call for debt relief
programs.

20. For the sole purpose of ascertaining who was calling him, and to therefore get the
company to stop calling his cellular phone number, Plaintiff asked Creditors Relief to send him
an email during the March 8, 2017 conversation. Shortly thereafter, Creditors Relief sent the
Plaintiff the following email:

~~ Forwarded Message -----
From: Manny Osiz <manny@creditorseelief.com
To: coe oe eee Ee

Sent: Wednesday, March &, 2077 10:31 AM
Subject: Regarding your UGG filing

 

Hello Jeffrey,

Tam reaching out from Creditors Relief, The reason for contacting you is regarding a UCC filing on your
company, which indicates you might be struggling with merchant cash advances, I've been working with
businesses in your area struggling with single and even multiple advances.

Creditors Relief specializes in restructuring corporate debt and merchant cash advances through negatiation
and settlement. The firm is owned by an attorney with years of experiance in offering debt relief assistance
to both individuals and businesses throughout the country,

Below are examples of settlements that we have attained for gur clients (o2st pertecmance is no

 

 

 

 

 

 

 

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Date Creditor Debt Balance Settiemant Amount | Settlament %
B/S/2016 Rapid Capital H19,430.00 $9,000.06 4G, 22%
Bf3/2016 CC $38,117.59 $20, 006 00 52.46%
Bazf2016 Can Capital S78, 545.70 $25,000.00 25.46%
Bs25/2016 Strategic Funding $22,271.06 $9,516.06 4A, OF M5
Bf11f2016 Everest $15,165.00 $5,000.00 S29 F Ge
BfAZ 2016 Fundbox 87, 800.00 $3,200.06 44.02%

 

 

 

 

 

 

 

*teee actual settlements ca aur website under “Racent Settlaments”

Creditors Relief has reached amazing settlement results for our Clients, exceeding their expectations time
and time again!

if your business finances are moving in the wrong direction, we can help! Qur lalored corporate debt relief
programs can:

1. Increase your monthly cash flew.
. Satisfy your creditors while paying what you can affard,
. Stretch your business deb) eut over time and/or reduce #.
. Spend legs time dealing with creditors, collection agencies and attorneys.
5. Keep your business open and help avaid possible bankruptcy.
We have successfully restructured millions im corporate debt, using proven strategies and leveraging the
relationships bullt over the years.
Our websie can be viewed here: creditarsre vs
Please feel free ta contact me directly at the nurmbers below should you have any questions.

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Best regards,
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21. Plaintiff does not own a business and has no need for Creditors Relief’s debt-
relief services.

22. Plaintiff has never provided his phone number to Defendant or any other party
from which Defendant’s agents may have purchased leads for businesses that require debt
solutions. Simply put, Hale has never provided his prior express written consent to Defendant to
place solicitation telephone calls to him.

23. The unauthorized telephone calls made by Creditors Relief agents to the
Plaintiff's cellular telephone, as alleged herein, have harmed Plaintiff in the form of annoyance,
nuisance, and invasion of privacy, and disturbed his use and enjoyment of his cellular phone, in
addition to the wear and tear on the phone’s hardware (including the phone’s battery) and the
consumption of memory on the phones.

24. Seeking redress for these injuries, Plaintiff, on behalf of himself and Class of
similarly situated individuals, brings suit under the Telephone Consumer Protection Act, 47
US.C. § 227, et seq., which prohibits unsolicited autodialed voice calls to cellular telephones.

CLASS ACTION ALLEGATIONS

Class Treatment Is Appropriate for Plaintiff's TCPA Claim Arising From an Autodialed
Call Made by Defendant to Plaintiff’s Cellular Number

25. Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
23(b)(2) and Rule 23(b)(3) on behalf of himself and all others similarly situated and seeks
certification of the following Class:

Autodialed No Consent Class: All persons in the United States from four years
prior to the filing of this action through the present who (1) Defendant (or an
agent acting on behalf of Defendant) called, (2) on the person’s cellular
telephone, (3) using an autodialer, and (4) for whom Defendant claims (a) they
obtained prior express written consent in the same manner as Defendant claims
they supposedly obtained prior express written consent to call the Plaintiff, or
(b) they did not obtain prior express written consent.
C&sase: 27L¢veO 202447 MMESKF Kigccmieent7202 Fl@eld066200189 RagecSidt daabagentOiI31821

26. The following individuals are excluded from the Class: (1) any Judge or
Magistrate presiding over this action and members of their families; (2) Defendant, its
subsidiaries, parents, successors, predecessors, and any entity in which Defendant or its parents
have a controlling interest and their current or former employees, officers and directors; (3)
Plaintiff's attorneys; (4) persons who properly execute and file a timely request for exclusion
from the Class; (5) the legal representatives, successors or assigns of any such excluded persons;
and (6) persons whose claims against Defendant have been fully and finally adjudicated and/or
released. Plaintiff anticipates the need to amend the Class definition following appropriate
discovery.

27. Numerosity: On information and belief, there are hundreds, if not thousands of
members of the Class such that joinder of all members is impracticable.

28. Commonality and Predominance: There are many questions of law and fact
common to the claims of Plaintiff and the Class, and those questions predominate over any
questions that may affect individual members of the Class. Common questions for the Class
include, but are not necessarily limited to the following:

(a) whether Defendant’s conduct constitutes a violation of the TCPA;

(b) whether Defendant utilized an automatic telephone dialing system to make
their calls to Plaintiff and the members of the Class;

(c) whether Defendant made autodialed telephone calls to Plaintiff and members
of the Class without first obtaining prior express written consent to make the

calls; and

(d) whether members of the Class are entitled to treble damages based on the
willfulness of Defendant’s conduct.

29. Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Class, and has retained counsel competent and experienced in class
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actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has no
defenses unique to Plaintiff. Plaintiff and his counsel are committed to vigorously prosecuting
this action on behalf of the members of the Class, and have the financial resources to do so.
Neither Plaintiff nor his counsel has any interest adverse to the Class.

30. Appropriateness: This class action is also appropriate for certification because
Defendant has acted or refused to act on grounds generally applicable to the Class and as a
whole, thereby requiring the Court’s imposition of uniform relief to ensure compatible standards
of conduct toward the members of the Class and making final class-wide injunctive relief
appropriate. Defendant’s business practices apply to and affect the members of the Class
uniformly, and Plaintiff's challenge of those practices hinges on Defendant’s conduct with
respect to the Class as wholes, not on facts or law applicable only to Plaintiffs. Additionally, the
damages suffered by individual members of the Class will likely be small relative to the burden
and expense of individual prosecution of the complex litigation necessitated by Defendant’s
actions. Thus, it would be virtually impossible for the members of the Class to obtain effective
relief from Defendant’s misconduct on an individual basis. A class action provides the benefits
of single adjudication, economies of scale, and comprehensive supervision by a single court.
Economies of time, effort, and expense will be fostered and uniformity of decisions will be

ensured.

FIRST CAUSE OF ACTION

 

Telephone Consumer Protection Act
(Violation of 47 U.S.C. § 227)
(On Behalf of Plaintiff and the Autodialed No Consent Class)
31. Plaintiff repeats and realleges paragraphs 1 through 30 of this Complaint and

incorporates them by reference herein.
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32. Defendant and/or its agents agent transmitted unwanted solicitation telephone
calls to cellular telephone numbers belonging to Plaintiff and the other members of the
Autodialed No Consent Class using equipment that, upon information and belief, had the
capacity to store or produce telephone numbers to be called, using a random or sequential
number generator, and/or receive and store lists of phone numbers, and to dial such numbers, en
masse, without human intervention.

33. Atno time did Defendant obtain prior consent from the Plaintiff orally or in
writing to receive solicitation telephone calls. Also, at no time did Defendant obtain prior express
written consent that contained a disclosure informing Plaintiff or any other consumer that
agreeing to receive solicitation telephone calls was not a condition of the purchase of any
property or service.

34. Defendant has, therefore, violated 47 U.S.C. § 227(b)(1)(A)(iii). As a result of
Defendant’s conduct, Plaintiff and the other members of the Autodialed No Consent Class are
each entitled to, under 47 U.S.C. § 227(b)(3)(B), a minimum of $500.00 in damages for each
violation of such act.

35. In the event that the Court determines that Defendant’s conduct was wilful and
knowing, it may, under 47 U.S.C. § 227(b)(3)(C), treble the amount of statutory damages
recoverable by Plaintiff and the other members of the Autodialed No Consent Class.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff, individually and on behalf of the Class, prays for the
following relief:

A. An order certifying this case as a class action on behalf of the Class as defined

above, appointing Plaintiff as the representative of the Class, and appointing his

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attorneys as Class Counsel;

An award of actual and statutory damages to be paid into a common fund for the
benefit of Plaintiff and the Class;

An order declaring that Defendant’s actions, as set out above, violate the TCPA;
A declaratory judgment that Defendant’s telephone calling equipment constitutes
an automatic telephone dialing system under the TCPA;

An injunction requiring Defendant to cease all unsolicited calling activity, and to
otherwise protect the interests of the Class;

An injunction prohibiting Defendant from using, or contracting the use of, an
automatic telephone dialing system without obtaining, and maintaining records of,
call recipient’s prior express written consent to receive calls made with such
equipment; and

Such further and other relief as the Court deems necessary.

DEMAND FOR JURY TRIAL

Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff, on behalf of

himself and all others similarly situated, demands a trial by jury on all questions of fact raised

by the Complaint.

Dated: June 20, 2018

DeNITTIS OSEFCHEN PRINCE, P.C.

By: — s/ Ross H. Schmierer
Ross H. Schmierer, Esq.
525 Route 73 North, Suite 410
Marlton, New Jersey 08053
(T): (856) 797-9951
rschmierer@denittislaw.com

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mhiraldo@hiraldolaw.com

Attorneys for Plaintiff

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CERTIFICATION PURSUANT TO L. CIV. R. 11.2

I certify that, to the best of my knowledge, this matter is not the subject of any other

action pending in any court or of any pending arbitration or administrative proceeding.

Dated: June 20, 2018 DeNITTIS OSEFCHEN PRINCE, P.C.

By:  s/Ross H. Schmierer
Ross H. Schmierer, Esq.
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Marlton, New Jersey 08053
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rschmierer@denittislaw.com

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Exhibit B
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Lee Vartan, Esq.

A. Ross Pearlson, Esq.

Daniel D. Barnes, Esq.

Chiesa Shahinian & Giantomasi PC
One Boland Drive

West Orange, New Jersey 07052
Telephone: 973.325.1500
Facsimile: 973.325.1501

Attorneys for Defendant

Creditors Relief LLC

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

 

JEFFREY HALE, individually and on behalf Civil Action No. 2:17-cv-2447 (IMV)(ME)
of all others similarly situated,

Plaintiff, - |
DEFENDANT’S RESPONSES AND
“ OBJECTIONS TO PLAINTIFE’S

INTERROGATORIES
CREDITORS RELIEF LLC,

Defendant.

 

 

To: LAW OFFICES OF STEFAN COLEMAN, P.C.
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Attorneys for Plaintiff

 

 

 
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Defendant Creditors Relief LLC (“Defendant”) hereby responds to Plaintiff Jeffrey
Hale’s Interrogatories in accordance with the Federal Rules of Civil Procedure and the General

and Specific Objections that follow.

 

 

ée Vartan
Daniel Barnes

Dated: May 7, 2019

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4814-1546-5876.v5

 

 

 
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GENERAL OBJECTIONS

These General Objections shall apply to each and every interrogatory propounded by
Plaintiff and shall have the force and effect as if set forth in full and in response to cach
individually numbered interrogatory. Defendant’s responses to these interrogatories are based
on information and documents known to Defendant at this time. Defendant reserves the right
to assert additional objections or provide supplemental responses as further discovery may
reveal or at any time prior to the hearing of this matter. Any response, objection, or lack of
objection to any interrogatory is not deemed an admission that Defendant possesses such
information or documents responsive to the particular interrogatory.

1. Defendant objects to any definitions and/or instructions to the extent that the
definitions and instructions expand or conflict with the Federal Rules of Civil Procedure.

2. Defendant objects to these interrogatories to the extent that they seek to impose
obligations on Defendant that are greater than, or are inconsistent with, those imposed under
the Federal Rules of Civil Procedure.

3, Defendant objects to each and every interrogatory to the extent that it seeks
information protected by various privileges or immunities, including the attorney-client
privilege, the marital privilege, self-critical analysis, and the attorney work product doctrine. In
the event that any such information is inadvertently provided, and such information is the
proper subject of a privilege, such disclosure is not to be construed as a waiver of any

applicable privileges and/or immunities.

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4814-1546-5876.v5

 

 

 
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4, Defendant objects to each and every interrogatory to the extent that it purports to
request information that is not relevant to the subject matter involved in the pending action nor
is reasonably calculated to lead to the discovery of admissible evidence.

5. Defendant objects to cach and every interrogatory that calls for extensive and
unreasonable investigatory work on the part of Defendant as unduly burdensome, or which
improperly seeks to compel Defendant to characterize documents or information, or which is
calculated to harass and vex in the prosecution of this action.

6. Defendant objects to each and every interrogatory to the extent that it purports to
request cumulative or repetitive information on the grounds that it is overly broad and unduly
burdensome.

7. Defendant objects to each and every interrogatory to the extent that it seeks to
require the general production of categories of documents. Defendant also objects to each and
every interrogatory to the extent that 1t seeks to require the identification and/or production of
documents other than those in Defendant’s possession, custody, or control or to which other
parties have equal access.

8. Defendant objects to each and every interrogatory to the extent that it purports to
seek production or identification of documents obtained by Defendant’s counsel as part of
discovery, trial preparation, strategy, investigation, or case development. |

9. Defendant does not concede the relevancy, materiality, competency, or
admissibility as evidence of the information requested in the interrogatories and
notwithstanding any response made thereto, reserves the right to object on any ground to the

use of the responses herein in any subsequent proceeding, action, or trial.

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10. Defendant objects to each and every interrogatory to the extent that it attempts
to burden Defendant with the task of providing information that the propounding party can
itself easily obtain from a review of documents produced by Defendant.

11. Subject to and without waiving any of the aforesaid objections, Defendant states
that it has made the inquiry required under the Federal Rules of Civil Procedure to provide
responses to these interrogatories. Defendant does not, however, claim that the information
and/or documents referenced herein are inclusive of all information and/or documents
responsive to these interrogatories. The responses contained herein are based on Defendant’s
best efforts. Defendant reserves the right to supplement these responses and/or objections.

12. The responses herein are not based solely on the knowledge of the responding
party, but may include the knowledge of such parties, their agents, representatives and, unless
privileged, their attorneys. Additionally, the word usage and/or sentence structure does not
purport to be the exact language of the responding parties.

13. Merely because Defendant has provided a response to a particular interrogatory
is not an admission that (a) the responding party is personally knowledgeable regarding the
general topic area that is the subject matter of the discovery request, and/or (b) Defendant
agrees with any factual or legal assumptions set forth in the discovery request.

14. Defendant objects to any request that is based upon an assumption that a
particular allegation is true.

15, Defendant objects to the use of undefined terms or phrases and/or to any request
that is vague and/or ambiguous,

16. Defendant objects to any request that calls for the production of confidential or

proprietary information or documents.

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17. Defendant objects to the number of requests to the extent that number is
contrary to the Federal Rules of Civil Procedure and/or any orders of the Court.
18. Defendant expressly reserves the right to supplement, clarify, revise, or correct

any or all of the responses and objections herein, and to assert additional objections or

 

privileges, in one or more subsequent supplemental response(s).

19. Defendant objects to Plaintiff's definition of the phrases “automatic telephone
dialing system,” “ATDS,” and “predictive dialer” to the extent that such definitions differ from
applicable statutes, regulations and caselaw, including but not limited to the definitions set
forth in ACA International v. FCC, 885 F.3d 687 (D.C. Cir. 2018) and Dominguez v. Yahoo,
Inc., 894 F.3d 116, 120 (3d Cir. 2018).

20 Defendant objects to Plaintiff's definition of the phrase “subject call” for, among
other reasons, that it has not yet been established that such a call was made or that records
relating to it exist.

21. Defendant objects to Plaintiffs definition of the term “call” because it
incorporates the objected-to term “ATDS” and because it is vague, overbroad, and subject to
multiple interpretations.

22. Defendant objects to Plaintiffs definition of the terms “you” and “‘your” to the
extent it seeks to require production of information or documents beyond what is required
under applicable law.

23, To the extent that Plaintiff has requested documents that are subject to
confidentiality agreements with non-parties, Defendant will comply with such confidentiality
obligations and produce responsive documents as soon as compliance with such obligations is

met.

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24. Defendant incorporates by reference every applicable general objection set forth
above into cach specific response set forth below. A specific response may repeat a general
objection for emphasis or some other reason. The failure to include any general objection in
any specific response does not waive any general objection to that request. Moreover,

Defendant does not waive its right to amend its responses.

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INTERROGATORIES AND RESPONSES
1. Identify the following information regarding the target recipients of Calls: their
name, address, email, phone numbers, and the source(s) where you obtained the
telephone numbers called.
RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Subject to and

without waiving the forgoing objections, and the general objections set forth above, Defendant

incorporates by reference its responses to Interrogatory Nos. 4 and 9.

2 Identify every insurance agreement under which an insurance business may be
liable to satisfy all or part of a possible Judgment against you in this action or to
indemnify or reimburse for payments made to satisfy the judgment irrespective of
whether you have, or intend to, make such a claim.

RESPONSE: Objection. This interrogatory is overly broad and unduly burdensome. It is also
improperly duplicative because it seeks information and documents previously produced. In
addition, this request is vague and ambiguous. Subject to and without waiving the forgoing
objections, and the general objections set forth above, Defendant refers Plaintiff to the RLI
Insurance policy previously provided to Plaintiffs counsel and also refers Plaintiff to the

response to Plaintiff's Document Request No. 1.

3. Identify the total number of Calls that have been transmitted. For each Call,
please identify the date, content, and telephone number of the recipient of the Call,
and describe how the Calls were initiated, including a description of the equipment
used to obtain, store, and dial each telephone number,

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RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Subject to and
without waiving the forgoing objections, and the general objections set forth above, Defendant

incorporates by reference its responses to Interrogatory Nos. 4 and 9.

4, Describe in detail the method or process by which Calls were placed to individuals.
RESPONSE: Objection. This request 1s vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Subject to and
without waiving the forgoing objections, and the general objections set forth above, Defendant
responds as follows:

(a) Defendant does not use autodialing, predictive dialing, or recorded messages.
Defendant identifies potential customers in one of the following ways: (a) persons or entities
who respond to advertising (including online advertising) and contact Defendant, (b) research
of publicly available databases regarding UCC filings for commercial entities that may be in

need of Defendant’s services, and (c) customer leads that are provided by third-party vendors.

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(b) The phone numbers for each such potential customer, all of whom are
commercial entities and not individuals or consumers, are screened for various reasons,
including but not limited to (1) state do not call registries; (2) federal do not call registries; and
(3) the removal of cell phone numbers from all call lists. In accordance with industry practice,
Defendant utilizes outside vendors to perform this function.

(c) Once the list of potential customers is identified and screened, the information
relating to all potential customers (e.g., name of entity, phone number, and other pertinent
information) is entered into a database. (See Response to Interrogatory No. 9).

(d) Calls are made solely through the active intervention of a human telephone
marketer who directs a telephone call to a specifically targeted commercial entity from the list
of potential customers.

(e) The call is then made and the process of marketing to that specific customer's
needs is utilized.

(f) Typically, the initial phone call is not recorded. However, Defendant does
randomly record phone calls for training and management purposes once the potential customer
has agreed to utilize Defendant’s services.

(g) Nevertheless, Defendant’s database software does track calls made by
Defendant to potential customers.

(h) Notably, Defendant does not have any record of any call to the telephone
number identified by Plaintiff as the telephone number on which he claims received the

telephone call identified in the Complaint.

5. Describe in detail the method or process by which you or anyone on your behalf
collected or obtained Plaintiff’s telephone number.

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RESPONSE: See response to Interrogatory No. 4. Furthermore, Defendant is presently
unable to identify any records that demonstrate that it called Plaintiff. Therefore, Defendant

did not “collect” or “obtain” Plaintiff's telephone number.

6. Describe in detail the method or process by which the Subject Call was placed.
Your response should include, but not be limited to, a description of each stage of
the initiation process used to place the Subject Call.

RESPONSE: See responses to Interrogatory Nos. 4 and 5.

7. Identify every communication between You and Plaintiff.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Moreover, this
request calls for the production of documents that are protected from discovery by the attorney
client privilege and/or the attorney work product doctrine. Subject to and without waiving the
forgoing objections, and the general objections set forth above, Defendant (a) incorporates by
reference its response to Interrogatory No. 4 and (b) further states that it has no record of any

telephone cal! or other communications between Plaintiff and Defendant.

8. Identify who placed the Subject Call to Plaintiff,
RESPONSE: Objection. ‘This request is vague and ambiguous and uses terms that are

improperly defined. In addition, this request calls for the production of information or

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documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Subject to and
without waiving the forgoing objections, and the general objections set forth above, Defendant
(a) incorporates by reference its response to Interrogatory No. 4 and (b) further states that it has

no record of any telephone call between Plaintiff and Defendant.

9. Describe the equipment used to initiate the Subject Call.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Subject to and
without waiving the forgoing objections, and the general objections set forth above, Defendant
(a) incorporates by reference its response to Interrogatory No. 4 and (b) further states that it has
no record of any telephone call between Plaintiff and Defendant. Nevertheless, Defendant
states that to initiate marketing telephone calls as a general matter, Defendant utilizes a
database software called “Velocify Enterprise.” That software includes a “click to dial” feature
that requires the human caller to review the customer name and information before making a
call. The call may only be initiated by having a person manually “click” on the number
belonging to the specific potential customer that the person has chosen to call.

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10. Describe the equipment used to initiate Calls.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Further, this request calls for the production of
information or documents that are neither relevant nor calculated to lead to the discovery of
admissible evidence. Furthermore, this request is overly broad and unduly burdensome.
Subject to and without waiving the forgoing objections, and the general objections set forth
above, Defendant (a) incorporates by reference its responses to Interrogatory Nos. 4 and 9 and

(b) further states that it has no record of any telephone call between Plaintiff and Defendant.

11. Describe any equipment used by you or anyone on your behalf to store Plaintiff's
telephone number. Your answer should include a description of how that
equipment interacts with any equipment used to initiate the Subject Call.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are

improperly defined. In addition, this request calls for the production of information or

documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Further, this request calls for the production of
information or documents that are neither relevant nor calculated to lead to the discovery of
admissible evidence. Furthermore, this request 1s overly broad and unduly burdensome.

Subject to and without waiving the forgoing objections, and the general objections set forth

above, Defendant (a) incorporates by reference its responses to Interrogatory Nos. 4 and 9 and

(b) further states that it has no record of any telephone call between Plaintiff and Defendant.

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12. Have you ever received formal or informal complaints regarding Your telephone
marketing campaigns? If so, identify the complaint, including the date and
name(s) of the individual(s) making the complaint.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. Moreover, this request calls for the production of documents that are
protected from discovery by the attorney client privilege and/or the attorney work product
doctrine. In addition, this request calls for the production of information or documents that are
confidential and proprietary. In addition, this interrogatory assumes facts that are not proven
and may not be true. Furthermore, this request is overly broad and unduly burdensome.
Subject to and without waiving the forgoing objections, and the general objections set forth
above, Defendant states that to its recollection, it has never received any formal or informal
complaints regarding its telephone marketing campaigns. In addition, information about other

types of complaints will be provided in response to Plaintiffs document requests.

13. Describe what type of consent or permission, if any, you obtained from Plaintiff to
send place[sic] the Subject Call.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Subject to and
without waiving the forgoing objections, and the general objections set forth above, Defendant
(a) incorporates by reference its responses to Interrogatory Nos. 4 and 9 and (b) further states

that it has no record of any telephone call between Plaintiff and Defendant.

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14, Describe what type of consent or permission, if any, you obtained from recipients
of the Calls prior to placing the Calls.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Further, this request calls for the production of
information or documents that are neither relevant nor calculated to lead to the discovery of
admissible evidence. Furthermore, this request is overly broad and unduly burdensome.
Subject to and without waiving the forgoing objections, and the general objections set forth

above, Defendant incorporates by reference its responses to Interrogatory Nos. 4 and 9.

15. Describe the manner in which the list(s) of telephone numbers to which Calls were
placed was compiled or acquired, and identify the source(s) of the telephone
numbers and the persons who compiled them.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are

improperly defined. In addition, this request calls for the production of information or

documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Subject to and without waiving the forgoing objections, and the general

objections set forth above, Defendant incorporates by reference its responses to Interrogatory

Nos. 4 and 9.

16. Identify (a) each telephone number for the telephone line(s) from which you, or
anyone on your behalf, placed the Subject Call, (b) the telephone service
provider(s) for each such telephone number, and (c) the account number, name
and address for the account holder of each such telephone number.

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RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Further, this request calls for the production of
information or documents that are neither relevant nor calculated to lead to the discovery of
admissible evidence. Furthermore, this request is overly broad and unduly burdensome.
Subject to and without waiving the forgoing objections, and the general objections set forth
above, Defendant (a) incorporates by reference its responses to Interrogatory Nos. 4 and 9 and
(b) further states that it has no record of any telephone call between Plaintiff and Defendant.
Furthermore, for all outgoing marketing calls, Defendant uses software that provides the
recipient’s caller identification with an active phone number to which a return call may be

made by the recipient to Defendant and which is answered during normal business hours.

17. Identify (a) each telephone number for the telephone line(s) from which you, or
anyone on your behalf, initiated the Calls, (b) the telephone service provider(s) for
each such telephone number, and (c) the account number, name and address for
the account holder of each such telephone number.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are

improperly defined. In addition, this request calls for the production of information or

documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Further, this request calls for the production of
information or documents that are neither relevant nor calculated to lead to the discovery of
admissible evidence. Furthermore, this request is overly broad and unduly burdensome.

Subject to and without waiving the forgoing objections, and the general objections set forth

above, Defendant incorporates by reference its responses to Interrogatory Nos. 4 and 9.

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18. Describe the reason(s) why the Subject Call was placed to Plaintiff.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Further, this request calls for the production of information or documents that are
neither relevant nor calculated to lead to the discovery of admissible evidence. Subject to and
without waiving the forgoing objections, and the general objections set forth above, Defendant
(a) incorporates by reference its responses to Interrogatory Nos. 4 and 9 and (b) further states

that it has no record of any telephone call between Plaintiff and Defendant.

19. Were you aware of the restrictions imposed by the Telephone Consumer
Protection Act prior to the time the Subject Call was initiated?

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Moreover, this request calls for the production of documents that are protected
from discovery by the attorney client privilege and/or the attorney work product doctrine.
Further, this request calls for the production of information or documents that are neither
relevant nor calculated to lead to the discovery of admissible evidence. Subject to and without
waiving the forgoing objections, and the general objections set forth above, Defendant (a)

incorporates by reference its responses to Interrogatory Nos. 4 and 9, (b) further states that it

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has no record of any telephone call between Plaintiff and Defendant, and (c) also states that its
practices and procedures are consistent with industry norms and compliant with all applicable

laws.

20. The identity of all persons or entities who participated in initiating the Subject
Call.

RESPONSE: Objection. This request is vague and ambiguous and uses terms that are
improperly defined. In addition, this request calls for the production of information or
documents that are confidential and proprietary. In addition, this interrogatory assumes facts
that are not proven and may not be true. Furthermore, this request is overly broad and unduly
burdensome. Subject to and without waiving the forgoing objections, and the general
objections set forth above, Defendant (a) incorporates by reference its responses to
Interrogatory Nos. 4 and 9 and (b) further states that it has no record of any telephone call

between Plaintiff and Defendant.

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CERTIFICATION

I am the lf Q Creditors Relief, LLC. I am authorized to submit this

certification on behalf of Creditors Relief, LLC. I certify that the statements made by me in the
foregoing responses to interrogatories are true and correct to the best of my knowledge,
information and belief, except as to those made upon information and belief, and as to those, I
believe them to be true. I am aware that if any of the foregoing statements made by me are

willfully false, Creditors Relief, LLC and I may be subject to punishment.

CREDITORS RELIEF, LLG————__
By: 2

Title: | Chink Mou Uy usa OG,

Dated: May ‘TL, 2019

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